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                            UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION



UNITED STATES OF AMERICA,

                 Plaintiff,

v.                                                  Civil Case No.         09-10158
                                                    Criminal Case No.      99-80796
RODNEY RICE,

           Defendant.
________________________________/

         OPINION AND ORDER DENYING DEFENDANT’S MOTION TO VACATE
          SENTENCE UNDER 28 U.S.C. § 2255 AND DECLINING TO ISSUE A
                       CERTIFICATE OF APPEALABILITY

         On January 14, 2009, Defendant Rodney Rice, a prisoner at the Federal

Correctional Institution in Ashland, Kentucky, filed a “Motion to Vacate Sentence Under

28 U.S.C. § 2255.” Defendant raises four grounds in his § 2255 motion; all four are

based on ineffective assistance of counsel. Defendant also asks for an evidentiary

hearing pursuant to Rule 8 of the Rules Governing § 2255 Proceedings. Because the

record conclusively shows that Defendant’s right to effective counsel was not violated

and he is therefore not entitled to relief under § 2255, his motion will be denied without

an evidentiary hearing. The court will also decline to issue Defendant a certificate of

appealability.

                                      I. BACKGROUND

         Defendant is a former police officer of the fifth precinct of the Detroit Police

Department. On April 27, 2001, Rice was convicted by a jury of a variety offenses,

including substantive and conspiracy RICO offenses. The crimes arose from
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Defendant’s abuse of his position as a police officer and violation of others’ rights for his

gain. The court sentenced Rice to 210 months of incarceration. The Sixth Circuit

affirmed his conviction, but the Untied States Supreme Court remanded the case to this

court for resentencing in light of United States v. Booker, 543 U.S. 220 (2005). On

remand, this court sentenced Defendant to 174 months of incarceration. The sentence

was affirmed by the Sixth Circuit, and the Supreme Court denied Defendant’s motion for

a writ of certiorari.

       Defendant seeks relief from the 174-month sentence pursuant to 28 U.S.C. §

2255. Defendant asserts that relief is justified because his Sixth Amendment right to

effective assistance of counsel was violated in four ways: (1) his counsel did not move

for dismissal based on a Speedy Trial Act violation; (2) his counsel recommended trial

rather than accepting the Government’s proposed plea agreement; (3) his counsel was

ineffective at trial for not properly impeaching a witness; and (4) his counsel was

ineffective during the sentencing and resentencing phases.

                                      II. STANDARD

       Under 28 U.S.C. § 2255, a prisoner sentenced by a federal court “may move the

court which imposed the sentence to vacate, set aside or correct the sentence” when

“the sentence was imposed in violation of the Constitution or laws of the United States, .

. . the court was without jurisdiction to impose such sentence, . . . the sentence was in

excess of the maximum authorized by law, or is otherwise subject to collateral attack.”

Such motions, however, must demonstrate “the existence of a fundamental defect

which inherently results in a complete miscarriage of justice, or an omission inconsistent

with the rudimentary demands of fair procedure” in order for relief to be obtained.

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United States v. Todaro, 982 F.2d 1025, 1030 (6th Cir. 1993) (citing Hill v. United

States, 368 U.S. 424, 428 (1962)).

       An evidentiary hearing is not required for all § 2255 motions: “an evidentiary

hearing is required unless the record conclusively shows that the defendant is entitled to

no relief. Stated another way, no hearing is required if the defendant’s allegations

cannot be accepted as true because they are contradicted by the record, inherently

incredible, or conclusions rather than statements of fact.” Valentine v. United States,

488 F.3d 325, 333 (6th Cir. 2007).

       All of Defendant’s grounds for relief are based on ineffective assistance of

counsel. Accordingly, to prevail, he must establish that (1) his “counsel’s performance

fell below an objective standard of reasonableness, and (2) there is a reasonable

probability that, but for the deficiency, the outcome of the proceedings would have been

different.” Griffin v. United States, 330 F.3d 733, 736 (6th Cir. 2003). “The objective

standard of reasonableness is a highly deferential one and includes a strong

presumption that counsel’s conduct falls within the wide range of reasonable

professional assistance.” Mason v. Mitchell, 320 F.3d 604, 616-17 (6th Cir. 2003)

(quotation marks omitted). A “reasonable probability” is “a probability sufficient to

undermine confidence in the outcome.” Strickland v. Washington, 466 U.S. 668, 694

(1984).

       “When deciding ineffective-assistance claims, courts need not address both

components of the inquiry if the defendant makes an insufficient showing on one. If it is

easier to dispose of an ineffectiveness claim on the ground of lack of sufficient

prejudice, which we expect will often be so, that course should be followed.” Campbell

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v. United States, 364 F.3d 727, 730 (6th Cir. 2004).

                                    III. DISCUSSION

                                     A. Speedy Trial

        Defendant argues that his trial counsel rendered ineffective assistance of counsel

by failing to move for dismissal based on a speedy trial violation. The United States

responds that even if Defendant’s right to a speedy trial was violated,1 Defendant has

failed to establish that he was prejudiced by his counsel’s failure to dismiss the case.

The court agrees that Defendant has failed to show that he was prejudiced by a his

counsel’s failure to move for dismissal based on an alleged Speedy Trial Act violation.

        Although Defendant spent seven pages arguing that a Speedy Trial violation

occurred, he gave scant attention—just two conclusory sentences—to whether the

alleged violation resulted in prejudice. Defendant simply states that the “charges

against the Defendant would have been dismissed.” (Pet. Mot. Br. 12.) This is simply

not enough to establish prejudice. To establish prejudice in satisfaction of Strickland,

Defendant must show that the dismissal would have been with prejudice, or that

Defendant suffered some other actual prejudice, such as, a witness becoming

unavailable. See Campbell, 364 F.3d at 731. Defendant establishes neither of these

possibilities.

        He makes no allegations that he suffered actual prejudice from the delay. In fact,

the record indicates that, due to the complex nature of the case, Defendant benefitted

from the delay by having more time to prepare a defense. (12/23/99 Scheduling



   1
       The United States does not concede this point.

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Stipulation.)

       Under the Speedy Trial Act, courts must consider three factors to determine

whether a dismissal will be with or without prejudice: “[1] the seriousness of the offense;

[2] the facts and circumstances of the case which led to the dismissal; and [3] the

impact of a reprosecution on the administration of [the Act] and on the administration of

justice.” 18 U.S.C. § 3162(a)(1). First, the offenses of which Defendant was convicted

are serious: civil rights conspiracy; drug conspiracy; substantive and conspiracy RICO

offenses; and conspiracy to commit extortion. Further, the sentence that Defendant

received was nearly fifteen years of incarceration. See Campbell, 364 F.3d at 731 (30-

year sentence indicated seriousness of crime). Second, the delays were occasioned by

the complexity of the case and the number of defendants. The case involved “a lengthy

grand jury investigation, with literally hundreds of witnesses.” (08/16/00 Stipulation to

Continue Trial and for Finding Excludable Delay 1.) The United States produced over

1000 pages of documents in discovery. (Pretrial Mots. Tr. 5, Mar. 7, 2000.) During

discovery, the number of potential government witnesses was nearly two hundred. (Id.

at 19-20.) In fact, because of the complexity of discovery the defendants sought a four-

month delay in the start of trial, and, as such, defendants all indicated that there were

no Speedy Trial issues. (Id. at 29-31.) Finally, dismissal without prejudice would not

interfere with the administration of the Speedy Trial Act or of justice. As discussed

above, Defendant does not allege any actual prejudice as a result of the delay. Nor

does he allege that the Government engaged in bad faith that must be deterred to

further the purposes of the Speedy Trial Act. Accordingly, any dismissal under the Act

would have been without prejudice. Plaintiff’s ineffective assistance of counsel claim

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therefore fails for want of prejudice, even assuming a Speedy Trial Act violation.

                               B. Decision to Plead Not Guilty

       Defendant next argues that he received ineffective assistance of counsel

because his attorney imprudently advised him not to take a plea bargain. Defendant

alleges that counsel advised him that the Government could not prove its case and,

specifically, that the Government could not prove its case based on circumstantial

evidence. He also asserts that counsel “never informed [him] of the risks of additional

sentencing.” Defendant maintains that had he been properly informed, he would have

pled guilty. Not only are Defendant’s assertions of ignorance of the risk of going to trial

unbelievable, the record conclusively establishes that Defendant was fully informed of

the risks of proceeding to trial. Defendant signed an acknowledgment of the First

Superseding Indictment, which stated “I know that if I am convicted or plead guilty, I

may be sentenced as follows: . . . Count 1: . . . 10 years . . . . Count 2: . . . 20 years . . .

. Count 3: . . . 20 years . . . . Count 4: . . . 20 years . . . . Count 5: . . . 20 years . . . .

Count 6: . . . 20 years . . . . Count 9: . . . 10 years . . . . Count 11: . . . 10 years . . . .

Count 12: . . . 5 years . . . .” (Resp’t’s Resp. Ex. A.) He cannot now maintain that he

was unaware that a guilty verdict could result in a sentence greater than 10 years. As

for his claim of ignorance of the possibility of being convicted based on circumstantial

evidence, it is too incredible to believe that Defendant’s “long service to the City of

Detroit . . . as a police officer” did not give the knowledge that defendants are convicted

on circumstantial evidence. (See Pet. Br. 20.)

       Moreover, the court confirmed that Defendant knew of the risks of going to trial:

       The Court:      It is apparently your decision after having talked with counsel

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       that you do not wish to further engage in such plea negotiations, is that
       correct?

       [Defendant]: Yes.

       ...

       The Court: All right. Are you satisfied with your attorney’s
       representation and his advice in this regard?

       [Defendant]: Yes.

       The Court: You think he’s described to you fairly so that you can
       understand the advantages and disadvantages of what may lie before
       you?

       [Defendant]: Yes.

       The Court:    If you were to negotiate a plea?

       [Defendant]: Yes, sir.

       The Court: And you’ve talked about the advantages and
       disadvantages of going to trial, is that correct also?

       [Defendant]: Yes.

       The Court: And it is your decision, sir, to not further engage in any plea
       negotiations, but rather to exercise your right to go to trial, is that correct?

       [Defendant]: Yes.

(Final Pretrial Conference Tr. 6-7, Feb. 21, 2001.) The court is therefore convinced that

Defendant was not misled by his counsel into believing that the risks of trial were less

than they actually were.

                           C. Impeachment of Jajuan Harrison

       Defendant also argues that his counsel was unconstitutionally deficient for failing

to effectively impeach one of the Government’s witnesses. Jujuan Harrison testified

before the grand jury and at trial to the effect that he was robbed by Defendant while

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Defendant was on duty. Defendant maintains that Harrison’s testimony was false,

because Harrison initially stated that the robbery took place on a day on which

Defendant was not working. After being confronted with this fact, Harrison then stated

that the robbery must have occurred on a different day. Defendant maintains that had

his attorney properly impeached Harrison with this discrepancy, supported by time-

sheets from the police department, as well as internal-affairs records of Harrison’s

charge, “there is a reasonable probability that the jury would have acquitted” him.

Defendant’s attorney, however, effectively impeached Harrison. Defendant testified at

length on direct examination that he was not working the day on which Harrison claimed

he was robbed. Defendant also testified as to Harrison’s change of story, and

Harrison’s prior inconsistent statement. (Trial Tr. 3270-73, Apr. 4, 2001.) Moreover,

Defendant’s attorney attacked Harrison’s credibility on cross examination. He pointed

out that Harrison did not remember the date of the robbery. (Id. 2301.) He pointed out

inconsistencies between the trial testimony and the grand jury testimony. For example,

while before the grand jury, Harrison testified that Defendant did not search Harrison’s

friend’s car, but at trial Harrison testified that Defendant did search the friend’s car. (Id.

2305-06.) Defendant’s attorney then finished cross examination with a persuasive

attack on Harrison’s memory:

       Q:     You were told to tell only the truth . . . ?

       A:     Yes. . . . It’s like maybe a year and a couple months [after the
       grand jury, and] on top of smoking weed and drinking and trying to
       remember back, and having several altercations with them, it will be kind
       of hard to remember everything . . . .

(Id. at 2308.) After this question and response, Defendant’s attorney asked just one


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final question. It is hardly worth mentioning that a crucial aspect of effective cross

examination is knowing when to stop asking questions. The court cannot fault

Defendant’s attorney for ending his attack on Harrison’s credibility when he did.

Harrison’s response was particularly damaging to his credibility. Further, his comment

about “having several altercations” indicates that further testimony may have damaged

Defendant’s defense. The court therefore finds that Defendant’s attorney’s

impeachment of Harrison was “sound trial strategy” well within “the prevailing

professional norms.” See Strickland, 466 U.S. 689-90.

                                 D. Sentencing Phase

       Defendant raises two claims of ineffective assistance of counsel related to

representation during the sentencing phases. Defendant claims ineffective assistance

of counsel because his attorney did not argue that the court’s written judgment and

sentence was an illegal amendment of its oral sentence. Defendant claims that, at the

sentencing hearing, the court defined Defendant’s offense level as 32, while in the

written judgment the court defined the offense level as 35. Defendant’s claim is false:

the record conclusively establishes that the court calculated an offense level of 35 at the

sentencing hearing. (Sentencing Tr. 24, March 3, 2002.)

       Defendant also argues that his attorney was constitutionally deficient during

resentencing, because his attorney did not argue for a downward departure based on

Defendant’s record of service for the Detroit Police Department. This argument is

untenable. Defendant’s attorney stressed the heightened importance of Defendant’s

record of service in a post-Booker sentencing regime. Counsel argued that the

discretionary sentencing factors found in 18 U.S.C. § 3553 were particularly important

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given Defendant’s “commendable service as a police officer, the enormous stresses he

was under, given a particular assignment that he had as a police officer and the kind of

work he did for so long and so wonderfully.” (Resentencing Tr. 10, April 28, 2006.) But

the court did not consider Defendant’s record of service as entirely mitigating: “It’s just

so upsetting that men who could be such wonderful, blameless examples of adult

responsibility and could be on something like the Detroit Police Department and

absolutely a pillar of the community . . . would sink to [this] kind of depths . . . .” (Id. at

24.) Instead, the court was particularly persuaded by Defendant’s rehabilitative

activities in prison since he was incarcerated after the first sentencing. (Id. at 28.) In

fact, this was the court’s justification for a 36-month moderation of his sentence. It is

ridiculous to suggest that Defendant’s attorney’s choice to abstain from further pressing

a point that the court considered as aggravating rather than mitigating was ineffective

assistance. On resentencing, Defendant received a three-year sentence reduction—his

counsel was effective by any measure.

                         IV. CERTIFICATE OF APPEALABILITY

       A defendant must receive a certificate of appealability (“COA”) in order to appeal

the denial of a § 2255 motion. 28 U.S.C. §§ 2253(c)(1)(B). A district court, in its

discretion, may decide whether to issue a COA at the time the court rules on a § 2255

motion or may wait until a notice of appeal is filed to make such a determination. See

Castro v. United States, 310 F.3d 900, 903 (6th Cir. 2002); Lyons v. Ohio Adult Parole

Auth., 105 F.3d 1063, 1072 (6th Cir. 1997), overruled in part on other grounds by Lindh

v. Murphy, 521 U.S. 320 (1997). In denying the § 2255 motion, the court has studied

the case record and the relevant law, and concludes that, as a result, it is presently in

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the best position to decide whether to issue a COA. See Castro, 310 F.3d at 901

(quoting Lyons, 105 F.3d at 1072) (“[Because] ‘a district judge who has just denied a

habeas petition . . . will have an intimate knowledge of both the record and the relevant

law,’” the district judge is, at that point, often best able to determine whether to issue the

COA).

        A court may issue a COA “only if the applicant has made a substantial showing

of the denial of a constitutional right.” 28 U.S.C. § 2253(c)(2). When a federal district

court rejects a habeas claim on the merits, the substantial showing threshold is met if

the defendant demonstrates that reasonable jurists would find the district court’s

assessment of the constitutional claim debatable or wrong. See Slack v. McDaniel, 529

U.S. 473, 484-85 (2000). “A [defendant] satisfies this standard by demonstrating that . .

. jurists could conclude the issues presented are adequate to deserve encouragement

to proceed further.” Miller-El v. Cockrell, 537 U.S. 322, 327 (2003). In applying this

standard, a district court may not conduct a full merits review, but must limit its

examination to a threshold inquiry into the underlying merit of the defendant’s claims.

Id. at 336-37. The court concludes that jurists of reason would not find the court’s

assessment of the constitutional claims debatable or wrong. The court thus declines to




issue Defendant a certificate of appealability.




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                                                         V. CONCLUSION

           For the reasons stated above, IT IS ORDERED that Defendant’s § 2255 motion

[Dkt. # 366] is DENIED.

           IT IS FURTHER ORDERED that the court DECLINES to issue a certificate of

appealability.

                                                                    s/Robert H. Cleland
                                                                    ROBERT H. CLELAND
                                                                    UNITED STATES DISTRICT JUDGE

Dated: October 28, 2009

I hereby certify that a copy of the foregoing document was mailed to counsel of record
on this date, October 28, 2009, by electronic and/or ordinary mail.


                                                                    s/Lisa G. Wagner
                                                                    Case Manager and Deputy Clerk
                                                                    (313) 234-5522




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